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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                 v.                            Case No.: 1:21-mj-00188-ZMF-1

RYAN SAMSEL


          MOTION AND ORDER FOR SUBSTITUTION OF COUNSEL

       Comes now, the defendant, RYAN SAMSEL, by and through counsel and moves
this Honorable Court to substitute Elisabeth K. H. Pasqualini, Esq. with the undersigned
counsel, Robert L. Jenkins, Jr., Esq.

I ASK FOR THIS:


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Counsel for Defendant RYAN SAMSEL




SO ORDERED,

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                                                    Entered
